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       Case 1:23-cv-10511-WGY      1 Date
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                                              Filed 03/05/24                   Entry1ID:
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                United States Court of Appeals
                                For the First Circuit
                                      _____________________

 No. 24-1092

      UNITED STATES; COMMONWEALTH OF MASSACHUSETTS; DISTRICT OF
    COLUMBIA; STATE OF NEW YORK; STATE OF CALIFORNIA; STATE OF NORTH
           CAROLINA; STATE OF MARYLAND; STATE OF NEW JERSEY,

                                       Plaintiffs - Appellees,

                                                 v.

               JETBLUE AIRWAYS CORPORATION; SPIRIT AIRLINES, INC.,

                                      Defendants - Appellants.
                                       __________________

                                           JUDGMENT

                                     Entered: March 5, 2024
                                  Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
 dismissed pursuant to Fed. R. App. P. 42(b)(1) with each party to bear its own costs.

        Mandate to issue forthwith.

                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc:
 Donald Campbell Lockhart, Edward William Duffy, Nickolai Levin, Daniel Edward Haar, Alice
 A. Wang, Michelle Livingston, Andrew N. DeLaney, William T. Matlack, Robert B. McNary, C.
 William Margrabe, Jeremy Girton, Caroline S. Van Zile, Olga Kogan, Jamie L. Miller, Jessica
 Vance Sutton, Schonette Walker, Ana Atta-Alla, Zachary R. Hafer, Ryan A. Shores, Zachary
 Sisko, Brian Hauser, Jessica K. Delbaum, Deepti Bansal, Elizabeth M. Wright, Matt Nguyen,
 David I. Gelfand, Joseph M. Kay, Daniel P. Culley, Kannon K. Shanmugam, John C. Calhoun,
 Samuel Newland Rudman, Meredith Richardson Dearborn, Andrew C. Finch, Jay Cohen, Joseph
 Peter Rockers, James P. Denvir III, Benjamin P. Solomon-Schwartz, Kaitlin Mary Thompson,
 Andrew T. O'Connor, John Francis White III, Christina S. Marshall, Glenn A. MacKinlay, Dean
 Austin Elwell, Marguerite M. Sullivan, David C. Tolley, Lisa C. Wood, Jennifer L. Giordano, Tara
 S. Morrissey, Tyler S. Badgley, Eli Nachmany, Lauren Willard Zehmer
